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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

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 UNITED STATES OF AMERICA

         - against -                                            MEMORANDUM & ORDER
                                                                03-CR-929 (S-5) (NGG)
 VINCENT BASCIANO and
 PATRICK DEFILIPPO,

                            Defendants.
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 GARAUFIS, United States District Judge.

         I previously issued an opinion in response to the Government’s motion to admit

 uncharged acts of misconduct by the defendants. (Memorandum & Order of Feb. 17, 2006

 (“M&O”).) Subsequent to that opinion, the United States (“Government”) and the defendants

 Vincent Basciano (“Basciano”) and Patrick DeFilippo (“DeFilippo”) (collectively “Defendants”)

 asked for reconsideration of certain rulings from the M&O. In this decision, I will examine the

 Defendants’ request to exclude evidence of the conspiracy to kill Basciano and of the conspiracy

 to kill DeFilippo, the Government’s request to permit the introduction of evidence of the murder

 of John Doe (Queens Social Club) against Basciano, and the Government’s motion to introduce

 evidence of Basciano’s participation in the conspiracy to kill Salvatore Vitale. This ruling

 assumes familiarity with previous rulings in this case.

         Basciano’s and DeFilippo’s requests are denied. The Government’s request as to the

 murder of John Doe is granted. The Government’s motion as to the conspiracy to kill Salvatore

 Vitale is granted.




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 ANALYSIS

 I.     The Conspiracy to Kill Basciano; The Conspiracy to Kill DeFilippo

        In response to the Government’s original Motion in limine to admit evidence under Rule

 404(b), DeFilippo submitted a letter arguing:

           Whether or not evidence is admissible under Rule 404(b) or as evidence of
           the conspiracy is a question that must await trial. We are certainly not
           obliged, even before opening statements, to consent to the admission of this
           evidence and we will be prepared to object, at the appropriate time, should we
           believe this or any other proffered evidence is inadmissible.

 (DeFilippo Ltr. of Jan. 31, 2006, at 1.) My prior decision granted the Government’s motion to

 introduce evidence that Basciano and DeFilippo each conspired to kill the other for the purpose

 of completing the story, establishing relationships of trust, and/or corroborating testimony of

 cooperating witnesses. (Rule 404(b) M&O, at 18-19.) I found that the probative value was not

 substantially outweighed by unfair prejudice. (Id. at 18.)

        On February 23, 2006, DeFilippo submitted a letter objecting to “the government’s

 proposed evidence that Mr. DeFilippo conspired to kill Mr. Basciano.” (DeFilippo Ltr. of Feb.

 23, 2006, at 1.) DeFilippo argues that:

           [t]he proposed evidence ‘completes’ none of the ‘stor[ies]’ told in the
           indictment; it establishes no relationship of trust that Mr. DeFilippo has yet
           disputed; and it does not corroborate the expected testimony of any
           cooperating witness but rather simply is the proposed testimony of a
           cooperating witness. On the other hand, where Mr. DeFilippo is charged with
           one and only one murder, the addition of another murder conspiracy will
           serve no other purpose than to paint Mr. DeFilippo has a murderer, i.e. it will
           be used by the jury, improperly as evidence of propensity.”

 (Id. at 1-2.) DeFilippo’s letter, however, does not present any new arguments or evidence that

 was not previously considered by the court in the Rule 404(b) M&O, namely: an analysis of the



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 probative value of the potential evidence and its danger of unfair prejudice. I have granted the

 Government’s motion to use certain evidence under Rule 404(b) for limited purposes. I find that

 this evidence falls within those purposes, by allowing the Government to show DeFilippo’s

 awareness of, and involvement in, the use of violence to solve problems within high levels of the

 organized crime family, as well as to potentially establish relationships of trust or corroborate

 testimony of witnesses. See United States v. Williams, 205 F.3d 23 (2d Cir. 2000); United States

 v. Everett, 825 F.2d 658, 660 (2d Cir. 1987) (other crimes evidence “has been consistently held

 admissible” to corroborate testimony of cooperating witnesses who testify of their own

 involvement in these crimes). In the trial thus far, the court has already heard direct testimony

 from Salvatore Vitale of DeFilippo’s central role in the 1999 Gerlando Sciascia murder.

 Evidence of DeFilippo’s role in one other conspiracy to murder is therefore not substantially

 prejudicial in the face of the charges and the evidence he is facing. See, e.g., United States v.

 Mejia-Velez, 855 F. Supp. 607, 611 (E.D.N.Y. 1994).

        The same analysis applies to Basciano’s oral application to the court to reconsider its

 ruling as to Basciano’s participation in a conspiracy to kill DeFilippo. As I find that the

 probative value of these uncharged acts is not substantially outweighed by the danger of unfair

 prejudice, my prior ruling stands. The Government may introduce evidence of the conspiracy to

 kill Basciano and the conspiracy to kill DeFilippo.

 II.    Conspiracy to Kill Salvatore Vitale

        The Government moves to admit evidence of Basciano’s participation in the conspiracy

 to kill Salvatore Vitale. (Gov’t Ltr. of Feb. 28, 2006 at 5-6.) The Government moves to have

 this evidence admitted to complete the story, establish relationships of trust, and corroborate


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 testimony of cooperating witnesses. The Government also moves to introduce this evidence

 under the theory that Basciano has opened the door to this evidence by raising the issue that

 Joseph Massino plotted to kill Salvatore Vitale. (Id.)

        Under the reasoning of my February 17, 2006 decision, I find that the probative value of

 this evidence is not substantially outweighed by the danger of unfair prejudice. (See M&O, at

 18-19.) Basciano’s participation in the conspiracy to kill Salvatore Vitale may be introduced for

 the limited purpose of completing the story, establishing relationships or test, and/or

 corroborating the testimony of cooperating witnesses.

 III.   The Murder of John Doe in a Queens Social Club

        I originally ruled on February 17, 2006 that the Government is precluded from

 introducing evidence of Basciano’s participation in the murder of John Doe in a Queen’s Social

 Club because I deemed the evidence to be too prejudicial given that it lacked specificity as to the

 victim and the time period of the act alleged. (M&O, at 15.)

        The Government has asked the court to reconsider this question because Basciano has

 contested identity and has opened the door. (Gov’t Ltr. of Mar. 6, 2006.) Basciano’s counsel

 offered his response on the record in court the same day.1 For the reasons elucidated in my ruling

 of February 23, 2006, I do not find that the murder of John Doe in a Queens Social Club is

 evidence of a “signature crime” with distinctive features sufficient to allow for its introduction as

 evidence of identity.

        I do, however, find that Basciano has opened the door sufficiently to allow for the

 introduction of this evidence. Counsel for Basciano has argued to the jury in his opening


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            At the time of this writing, the trial transcript for March 6, 2006 had not been released.

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 statement and through cross-examination that members of the Bonanno organized crime family

 are not permitted to commit murder without permission from the Boss and that a potential

 repercussion for breaking this rule was death. (Gov’t Ltr. of Mar. 6, 2006.) Basciano has also

 suggested that he followed certain orders, such as attendance at Casablanca, out of fear of

 consequences for not doing so from Joseph Massino. (Id.) The inference that presumably

 Basciano seeks to raise in the jurors’ minds is that these conditions would make it improbable, if

 not impossible, for Basciano to have committed the 1999 Santoro homicide as argued by the

 Government. (Id.)

        Given that the defense has raised a question as to whether Basciano could – or would –

 commit an unapproved murder, as well as whether Basciano was too scared to disobey Bonanno

 family rules, the probative value of this evidence has increased. I find that the danger of unfair

 prejudice does not substantially outweigh the probative value of this evidence for the purpose of

 contesting Basciano’s incapacity or unwillingness to break the rule requiring prior approval for

 murders due to fear of reprisals from Joseph Massino.

        I take this opportunity to again remind the Government that, while I have granted its

 motion to introduce certain uncharged acts of murder by Basciano, there is a point at which

 evidence of uncharged violent acts will become cumulative under Federal Rule of Evidence 403.

 I do not find that the introduction of two or three murders would create such a danger of unfair

 prejudice as to outweigh the probative value of that evidence, as outlined in my February 6, 2006

 M&O and this ruling. Nonetheless, I remind the Government to act prudentially and

 proportionately in order to avoid the introduction of cumulative evidence that would prejudice

 Basciano.


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 CONCLUSION

        For the reasons explained above, DeFilippo’s request to preclude evidence of his

 participation in the conspiracy to murder Basciano is DENIED; Basciano’s request to preclude

 evidence of his participation in the conspiracy to murder DeFilippo is DENIED; the

 Government’s motion to admit evidence of Basciano’s participation in the conspiracy to kill

 Salvatore Vitale is GRANTED; the Government’s request to admit evidence the murder of John

 Doe (Queens Social Club) is GRANTED.



 SO ORDERED.
                                                      ___/s/_____________________
 Dated: March 6, 2006                                 Nicholas G. Garaufis
 Brooklyn, N.Y.                                       United States District Judge




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